                      UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION

UNITED STATES OF AMERICA                 )
                                         )
                                         )
      v.                                 )     No. 3:21-cr-00126
                                         )     JUDGE RICHARDSON
                                         )
TONY JOHNSON                             )


        UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

      Comes the defendant, Tony Johnson, by and through counsel, and moves this

Honorable Court to continue the sentencing hearing that is currently set for Friday,

March 31, 2023. In support of this motion, Mr. Johnson would show the following:

      1.     Undersigned counsel has discussed this matter with Assistant U.S.

Attorney Philip Wehby, who is unopposed to this Motion to Continue.

      2.     On December 30, 2022, Mr. Johnson was arrested by the Mount Juliet

Police Department and charged with possession with intent to distribute. (Doc. No.

44.) A petition alleging multiple violations of pretrial release was filed shortly

thereafter. Id.

      3.     Mr. Johnson remains in the custody of the Wilson County Detention

Center and is facing prosecution on the new state charges.

      4.     Counsel for the parties are still involved in negotiations about how to

best address the new charges. The government has not made a final decision

regarding whether to proceed with the Plea Agreement previously entered or strike

the agreement.



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      For the reasons stated above, Mr. Johnson moves this Court to continue the

sentencing hearing for approximately 60 days.

                                       Respectfully submitted,

                                       /s/ Mary Kathryn Harcombe
                                       MARY KATHRYN HARCOMBE
                                       (BPR# 024466)
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                                       Nashville, TN 37203
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                                       Attorney for Tony L. Johnson


                           CERTIFICATE OF SERVICE

      I hereby certify that on March 6, 2023, I electronically filed the foregoing
Unopposed Motion to Continue Sentencing Hearing with the clerk of the court by
using the CM/ECF system, which will send a Notice of Electronic Filing to the
following: Philip H. Wehby, Assistant United States Attorney, 719 Church Street,
Suite 3300, Nashville, TN 37203.

                                       /s/ Mary Kathryn Harcombe
                                       MARY KATHRYN HARCOMBE




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